                       Case 3:21-cr-00220-VAB Document 606 Filed 04/28/23 Page 1 of 1
O AO 245A (Rev. 12/03) Judgment of Acquittal


                                     UNITED STATES DISTRICT COURT
                                                                         DISTRICT OF    Connecticut

                UNITED STATES OF AMERICA
                                                                                  JUDGMENT OF ACQUITTAL
                V. 

                7RP(GZDUGV
                                                                                  CASE NUMBER: 3:-cr-00-9$%-




      The Defendant was found not guilty on counts 1of the Indictment. IT IS ORDERED that the
Defendant is acquitted as to countRI the Indictment.




                                     Digitally signed by Victor Bolden
Victor Bolden                        Date: 2023.04.28 10:16:14 -04'00'



   Signature of Judge
   sŝĐƚŽƌ͘ŽůĚĞŶ,UnitedStatesDistrictJudge

Name of Judge                                          Title of Judge



                                  Date
